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                              No. 24-13102


          IN THE UNITED STATES COURT OF APPEALS
                FOR THE ELEVENTH CIRCUIT


                PROPERTIES OF THE VILLAGES, INC.,

                                          Plaintiff-Appellee,

                                    v.

                   FEDERAL TRADE COMMISSION,

                                          Defendant-Appellant.


              On Appeal from the United States District Court
                    for the Middle District of Florida


             Response in Opposition to Motion to Intervene


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          Properties of the Villages, Inc. v. Federal Trade Commission, No. 24-13102

              CERTIFICATE OF INTERESTED PERSONS AND
                CORPORATE DISCLOSURE STATEMENT

      Pursuant to Eleventh Circuit Rule 26.1-1, counsel for appellant certifies that, to

the best of his knowledge, no persons or entities other than those already listed in the

party and amicus briefs filed in this case have an interest in the outcome of this

litigation, with the exception of the following:

      Granston, Michael D.

                                                     s/ Sean R. Janda
                                                   Sean R. Janda




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                                  INTRODUCTION

       An organization and two individuals seek to intervene in this interlocutory

appeal of a preliminary injunction prohibiting the Federal Trade Commission from

enforcing a regulation against a single company. The challenged rule defines most

existing non-competes as unfair methods of competition prohibited by the Federal

Trade Commission Act and bans the future use of most non-competes. Non-

Compete Clause Rule, 89 Fed. Reg. 38,342 (May 7, 2024).

       The motion to intervene should be denied. As this Court has recognized,

intervention on appeal is reserved for extraordinary circumstances not present here.

Any prospective intervenors on appeal must demonstrate a concrete interest to

support their standing on appeal and a legally protectable interest necessary to justify

intervention at this stage. The prospective intervenors cannot make this showing.

Indeed, they do not even claim that they have any interest in the narrow preliminary

injunction entered by the district court, and their asserted harms relating to the Rule

generally are too speculative to support their intervention as a party in this litigation.

       Notwithstanding movants’ claim to benefit from the rule, their participation

would be in tension with Congress’s considered decision to authorize the federal

government to oversee, control, and coordinate the defense of federal agency action.

Congress expressly provided that the Commission would have the exclusive authority

to supervise and defend its rulemakings in litigation, and the Commission has lawfully

exercised that authority here in accordance with its rules and procedures and in
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cooperation with the Solicitor General, who supervises the appellate litigation of the

Department of Justice. Thus, this Court should deny the motion.

                                    STATEMENT

      1. The FTC Act, originally enacted in 1914, “declared unlawful” all “[u]nfair

methods of competition in or affecting commerce.” 15 U.S.C. § 45(a)(1). In addition,

the Act established the Commission as a bipartisan expert agency with authority for

enforcing the Act’s prohibition on such unfair methods of competition. Thus,

Congress “empowered and directed” the Commission “to prevent persons” and other

entities subject to the Commission’s jurisdiction “from using unfair methods of

competition in or affecting commerce.” Id. § 45(a)(2). Congress vested the

Commission with various powers to carry out its mandate to prevent unfair methods

of competition. As relevant here, Congress provided that the “Commission shall also

have power” “to make rules and regulations for the purpose of carrying out the

provisions of” the FTC Act. Id. § 46(g).

      2. In 2018, the Commission began to evaluate whether non-competes are

unfair methods of competition. Following a notice-and-comment process, in May

2024, the Commission issued findings of fact and concluded that non-competes are

unfair methods of competition because they (1) are a method of competition, as

opposed to a condition of the marketplace, 89 Fed. Reg. at 38,374, (2) are restrictive

and exclusionary, id., and (3) tend to negatively affect competition in labor, product,

and service markets, id. at 38,379-402, 38,406-11. The Commission also found that
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non-competes with workers other than senior executives are exploitative and coercive

because they are almost always imposed unilaterally by employers with superior

bargaining power, typically without meaningful negotiation or compensation, id. at

38,374-79; that is less often true for senior executives, who are more likely to bargain

over, and receive compensation for, non-competes, id. at 38,405-06.

      For these reasons, the Commission adopted the Non-Compete Rule. The Rule

provides that it is an unfair method of competition under Section 5(a) of the FTC Act

for covered persons to enter into non-competes after the Rule’s effective date,

September 4, 2024. 89 Fed. Reg. at 38,342. The Rule also prohibits covered persons

from enforcing existing non-competes except with respect to senior executives and

requires covered persons to notify current and former employees subject to covered

non-competes that the non-competes are unenforceable. See id.

      3. Plaintiff Properties of the Villages, Inc.—a company that “sells real estate

and residential housing” and that requires its “Sales Associates” to “sign and abide

by” non-compete agreements—challenged the Non-Compete Rule and moved for a

preliminary injunction against its enforcement. Dkt. No. 1, at 10, 18; Dkt. No. 25.

      The district court granted plaintiff’s motion for a preliminary injunction on its

claim that the Commission is not statutorily authorized to issue the Rule. Dkt. No. 59,

at 17-25. The court thus entered a preliminary injunction prohibiting the Commission

from enforcing the Non-Compete Rule against plaintiff. Id. at 1-2.

      The Commission appealed the district court’s preliminary injunction.
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       4. On January 13, 2025, after the Commission filed its opening brief in this

appeal, three proposed intervenors moved to intervene as defendants-appellants. The

proposed intervenors seek leave to intervene for purposes of continuing to litigate this

appeal in the event the Commission determines that it will no longer defend the Rule.

See Mot. 2-3.

                                     ARGUMENT

       This Court should deny the motion. “No statute or rule provides a general

standard to apply in deciding whether intervention on appeal should be allowed.”

Cameron v. EMW Women’s Surgical Ctr., P.S.C., 595 U.S. 267, 276 (2022). Although a

court of appeals may “permit intervention where none was sought in district court,”

such a motion may be granted “only in an exceptional case for imperative reasons.”

Hall v. Holder, 117 F.3d 1222, 1231 (11th Cir. 1997) (quotation omitted). In the

absence of “any rule that governs appellate intervention,” the Supreme Court has

considered “the policies underlying intervention in the district courts,” including “the

legal interest that a party seeks to protect through intervention on appeal,” EMW

Women’s Surgical Ctr., 595 U.S. at 277 (quotation omitted); see Fed. R. Civ. P. 24, in

determining whether intervention on appeal is appropriate.

       Here, the Commission has defended the Rule pursuant to the authority

Congress expressly conferred upon the Commission to defend its actions.

Intervenors’ asserted interests are therefore adequately represented.


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      More fundamentally, movants here seek to enter the case to defend a Rule

issued by the Commission in the event the Commission itself decides not to do so.

Granting intervention in those circumstances would undermine Congress’s considered

judgment to allow the Commission (acting through its Presidentially appointed,

Senate-confirmed Commissioners) to supervise the defense of its own rules—in

accordance with its statutory authority, rules, and procedures—particularly given the

precedential effects of a loss on appeal on the Commission.

      A.     The Commission Adequately Represents Proposed
             Intervenors’ Asserted Interests

      In determining whether a case presents the “exceptional” circumstances

permitting intervention on appeal, Hall, 117 F.3d at 1231 (quotation omitted), the

Court may properly consider the “policies underlying intervention in the district

courts,” “including the legal interest that a party seeks to protect through intervention

on appeal,” EMW Women’s Surgical Ctr., 595 U.S. at 277 (quotations omitted). The

purpose of intervention is to permit a nonparty to join a case as a party when there is

a risk that the movant’s absence from the litigation will compromise the intervenor’s

interests. Thus, intervention in district court is not permitted when “existing parties

adequately represent that interest.” Fed. R. Civ. P. 24(a)(2). The same basic policy

governs intervention on appeal, but in a more stringent way. Allowing intervention on

appeal risks incentivizing potential intervenors to wait to see what happens in district

court (thus avoiding the risks of discovery and of being bound by an adverse

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judgment) before seeking to become a party on appeal, after the burdens of party

status in litigation have abated. Thus, this Court permits intervention on appeal only

in “exceptional cases” where “imperative reasons” justify the conclusion that it is

appropriate to add a new party to the litigation so late in the proceedings. Hall, 117

F.3d at 1231.

       This is not that “exceptional case.” The Commission has defended the Rule in

the district court, appealed an adverse final judgment, and filed an opening brief on

appeal. As movants acknowledge, the Commission has represented the public’s

interests, consistent with Congress’s decision to vest the Commission with statutory

authority to defend its actions.

       B.       Proposed Intervenors Lack a Cognizable Interest Sufficient
                to Support Intervention

       Intervention on appeal, as in district court, requires a prospective intervenor to

demonstrate a “legal ‘interest’” that it seeks “to ‘protect’ through intervention.” EMW

Women’s Surgical Ctr., 595 U.S. at 277 (quoting Fed. R. Civ. P. 24(a)(2)). Movants have

failed to establish a legally cognizable interest sufficient to support intervention on

appeal.

       1. Proposed intervenors seek to intervene to defend the Rule in the event that

the Commission “seeks to voluntarily dismiss this appeal, hold these proceedings in

abeyance, stipulate to judgment, decline to seek en banc or Supreme Court review of an

adverse decision, or take similar action.” Mot. 21. Even apart from the speculative

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nature of that argument, movants have not demonstrated a legally cognizable interest

sufficient to support intervention. When a putative intervenor “seek[s] additional

relief beyond that which” the parties seek, the intervenor must demonstrate Article III

standing. Town of Chester v. Laroe Estates, Inc., 581 U.S. 433, 439 (2017); see also Diamond

v. Charles, 476 U.S. 54, 68 (1986) (explaining that when an intervenor seeks to

“continue a suit in the absence of the party on whose side intervention was

permitted,” the intervenor must demonstrate its own standing to appeal); Old

Dominion Elec. Coop. v. FERC, 892 F.3d 1223, 1232 (D.C. Cir. 2018). Article III

standing requires demonstrating “an ‘injury in fact’—an invasion of a legally protected

interest” that is “concrete,” “particularized,” and “not conjectural or hypothetical.”

Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992) (quotation omitted).

       The proposed intervenors lack a legal interest that justifies intervention on

appeal, for several reasons.

       First, as explained, this appeal is an interlocutory appeal of a preliminary

injunction that prohibits the Commission from enforcing the Rule only against

plaintiff, a real-estate company in Florida. And proposed intervenors do not even

attempt to demonstrate any interest in the specific issue on appeal of whether the

Commission may enforce the Rule against plaintiff. The Small Business Majority does

not aver that it represents any company that might seek to hire plaintiff’s employees

or otherwise be affected by plaintiff’s non-competes, and the proposed individual

intervenors are not real-estate agents and do not live in Florida. There is thus no basis
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for believing that proposed intervenors have any stake—much less the sort of

imperative interest that could support intervention on appeal—in this interlocutory

appeal.

       Second, even with respect to the Rule more generally, proposed intervenors have

not demonstrated the requisite interest. The Small Business Majority asserts a legally

protected interest based on the “harms [that] non-compete agreements inflict on small

businesses” in the organization’s “network.” Mot. 18. The Small Business Majority

does not assert that it is itself regulated by the Rule or uniquely benefitted by the

Rule—that is, it does not appear to claim standing to intervene in its own right as an

organization. Instead, the Small Business Majority appears to assert standing to

intervene in defense of the Rule on a theory of associational standing. It describes

itself as a “network” comprising “more than 85,000 small businesses,” which may

“join [the] network in multiple ways,” such as by “registering for events hosted by”

the organization or “signing up for” the organization’s newsletter. Arensmeyer Decl.

1. But this representation that its “network” includes at least some small businesses

that will be assisted by the Rule does not satisfy the requirements for associational

standing. Among other things, it is unclear that the Small Business Majority has the

sort of “indicia of membership” that any such claim to associational standing requires.

Friends of the Earth, Inc. v. Chevron Chem. Co., 129 F.3d 826, 829 (5th Cir. 1997); see also

Doe v. Stincer, 175 F.3d 879, 885-86 (11th Cir. 1999). Courts rightly require more

assurance of consensual representation before permitting an organization to bind, in
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federal litigation, thousands of businesses who may have joined a “network” merely

by attending an event or signing up for a newsletter. Cf. FDA v. Alliance for Hippocratic

Med., 602 U.S. 367, 399-405 (2024) (Thomas, J., concurring) (explaining the serious

“constitutional concerns” raised by the doctrine of associational standing).

      Third, the two prospective individual intervenors likewise lack an adequate legal

interest to support intervention. Roffino states that he left a job that involved a two-

year post-employment noncompete on February 17, 2023, and has since secured

employment that does not violate the non-compete. See Roffino Decl. ¶ 25; id. Ex. A,

at 2. The non-compete to which Roffino is subject expires in less than a month.

Roffino asserts that he has a cognizable interest in this suit, because he “will be

hampered by the prospect of litigation” if he starts a competing business even after

the non-compete expires and he “worries that his former employer would try to

enforce the noncompete against him.” Mot. 20 (alterations and quotation omitted).

Roffino’s speculation that his former employer might seek to enforce an expired non-

compete at some point in the future, in the event Roffino starts a new business, rests

on a “highly attenuated chain of possibilities” and fails to demonstrate the requisite

“certainly impending” injury that could support a cognizable Article III interest in this

suit. Clapper v. Amnesty Int’l USA, 568 U.S. 398, 410 (2013).

      In Emmer’s case, the relevant non-compete “prohibit[s] [her] from serving as a

therapist for any patient [she] started treating while at [her] current employer” unless

“continuing treatment of a patient is clinically necessary,” as determined by her
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employer. Emmer Decl. 1-2. Emmer states that the non-compete has prevented her

from seeking other work, although her declaration leaves unclear any details of why

she cannot seek or accept work as a therapist for patients she does not currently treat.

The Rule applies to those non-competes that “prohibit[] a worker from, penalize[] a

worker for, or function[] to prevent a worker from” “[s]eeking or accepting work”

with a different company or operating a different business, 89 Fed. Reg. at 38,502.

Emmer’s non-compete appears not to fall within the “prohibit” or “penalize” prongs

of the Rule. See 89 Fed. Reg. at 38,364. And her declaration leaves unclear why she

believes her non-compete “restrain[s] such a large scope of activity that [it] function[s]

to prevent a worker from seeking or accepting other work or starting a new business

after their employment ends, although [it is] not expressly triggered by these specific

undertakings,” id.—i.e., why her non-compete is prohibited by the “functions to

prevent” prong of the Rule. It is thus not clear that Emmer’s non-compete would be

prohibited under the Rule.

      Fourth, a diffuse interest in the continued enforceability of a generally applicable

regulation does not provide the necessary direct and personal stake to support

appellate intervention. A contrary understanding—under which any person could

intervene merely by asserting a possible effect from the result of a case—would be

unworkable, “clutter[ing] too many lawsuits with too many parties.” City of Chicago v.

Federal Emergency Mgmt. Agency, 660 F.3d 980, 985 (7th Cir. 2011).


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       2. In addition, although movants effectively seek to intervene as defendants-

appellants, they have not established that they are properly considered defendants to

this action. Plaintiff could not bring its claims challenging the Rule against the

proposed intervenors (who have no apparent connection to plaintiff), and it is unclear

how the proposed intervenors could have any defenses to plaintiff’s claims. The

requirement of Rule 24 that a putative intervenor be able to file a “pleading” setting

out the “defense” it would assert if allowed to become a party defendant accordingly

limits intervention to circumstances where the intervenor seeks to defend its own

substantive legal rights in opposition to a claim in the pending action that could have

been asserted against it. Fed. R. Civ. P. 24(c); Amchem Prods., Inc. v. Windsor, 521 U.S.

591, 623 n.18 (1997) (quotation omitted). That requirement ensures a close

connection between the proposed intervenors and the underlying action.

       That close connection is absent here. Instead, the movants seek to intervene in

a suit regarding the facial validity of the Rule, unconnected to any specific application

of the Rule or of the statute to proposed intervenors specifically. Cf. Trbovich v. United

Mine Workers of Am., 404 U.S. 528 (1972) (holding that a union member could

intervene in an enforcement suit brought by the Secretary of Labor against a union

despite enforcement being limited to the Secretary but only “so long as that

intervention is limited to the claims” being pursued by the Secretary).

       3. Proposed intervenors’ lack of a sufficient interest to support intervention in

this appeal is only underscored by their inability to identify even a single similar case
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where this Court has permitted intervention on appeal. Indeed, the primary case cited

by proposed intervenors (at 12-13), Meek v. Metropolitan Dade County, 985 F.2d 1471

(11th Cir. 1993) (per curiam), involved not intervention on appeal but instead

intervention in district court. See id. at 1474-75. The court thus did not consider

whether the proposed intervenors in that case had established the sort of “imperative”

reason necessary to justify intervention on appeal. See id. at 1480. To the contrary, the

court’s evaluation of the proposed intervenors’ interest examined only whether they

could “show[] standing,” id.—not whether they could meet the much higher bar

required in this context.

      C.     Intervention Would Undermine Congress’s Judgment that
             the Commission Supervise the Defense of Its Actions

      Intervention on appeal in the present circumstances also would undermine the

authority that Congress placed in the federal government—and in particular, in the

Commission—to conduct and control litigation in defense of federal agency actions,

including rulemakings.

      By statute, Congress provided that the Commission “shall have exclusive

authority” to “defend” and “supervise the litigation of” any suit seeking to “obtain

judicial review of a rule prescribed by the Commission,” as well as to authorize the

Attorney General to represent the Commission in such a suit. 15 U.S.C. § 56(a)(2).

Congress expressly recognized that the Commission’s control over such litigation

extends to appeals, in cooperation with the Department of Justice. Id. This

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authorization is consistent with congressional design more broadly, which vests in the

Attorney General the responsibility for “attend[ing] to the interests of the United

States” in the courts. 28 U.S.C. § 517; see also id. § 516.

       Thus, Congress contemplated that the Commission would conduct and

supervise the defense of any challenges to its rulemakings in the first instance, which

is precisely what the Commission has done in this case. Further, the Commission has

voting procedures and processes governing the defense of litigation challenging

Commission actions, including rulemakings, pursuant to which the Commission,

represented by the Department of Justice, has defended the Rule in this case and in all

other challenges to the Rule since its issuance. Permitting a private entity to intervene

as defendant-appellant in these circumstances would undermine the statutory scheme.

Cf. FEC v. NRA Political Victory Fund, 513 U.S. 88, 96 (1994) (describing the

assignment of authority to the Attorney General to supervise other kinds of litigation

as “represent[ing] a policy choice by Congress”). Congress’s determination that the

Commission “shall have exclusive authority” to oversee the defense of its agency

actions reflects its legislative judgment that the Commission is best positioned to

ensure that any such litigation and defense is consistent with the Commission’s legal

interests, policy goals, and statutory mandates. When the Commission, either on its

own behalf or represented by the Department of Justice, conducts litigation over the

validity of its own rules, as it is statutorily authorized to do and as it has done here,


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allowing a third party to intervene and alter the direction of the litigation would flout

congressional design.

       Were it otherwise, intervenors could inject themselves in litigation and thwart

the Commission’s efforts to carry out its statutory mandates and to preserve its legal

interests. For instance, the Commission may make choices in litigation about what

arguments to advance regarding its authority to engage in rulemaking—choices that

will reflect the Commission’s understanding of its statutes and regulations, as well as

the Commission’s judgment about how best to safeguard its broader, long-term legal

interests, just as Congress intended. Permitting an intervenor to interject new

arguments in the litigation that are not consistent with the Commission’s judgment

risks undermining these choices and efforts. It is the Commission to which Congress

assigned the responsibility in the first instance to weigh the costs and benefits of

advancing different arguments, and of winning and losing on different arguments—

both in terms of the judicial precedent that might result and its effects on the

Commission’s ability to carry out its statutory duties. See also 15 U.S.C. § 56(a)(3)

(collaboration with the Solicitor General in the Supreme Court). These are decisions

that Congress tasked the Commission with making, in furtherance of the public

interest, and that this Court should not permit intervenors to usurp.1


       1
        Proposed intervenors also request that the Court “order the government to
provide at least 10 days’ notice to Proposed Intervenors and the Court before
voluntarily dismissing this appeal or stipulating to judgment.” Mot. 13 n.2; see also Mot.
                                                                          Continued on next page.
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                                  CONCLUSION

      For the foregoing reasons, proposed intervenors’ motion should be denied.

                                            Respectfully submitted,

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January 2025




22. But proposed intervenors cite no authority to support this request, and requiring
the government to provide advance notice of its litigation decisions would undermine
Congress’s determinations regarding federal government control of federal
government litigation (as explained).
*
  The Acting Assistant Attorney General is recused in this matter.
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                       CERTIFICATE OF COMPLIANCE

      This brief complies with the type-volume limit of Federal Rule of Appellate

Procedure 27(d)(1)(E) because it contains 3524 words. This brief also complies with

the typeface and type-style requirements of Federal Rule of Appellate Procedure

32(a)(5)-(6) because it was prepared using Word for Microsoft 365 in Garamond 14-

point font, a proportionally spaced typeface.



                                                  s/ Sean R. Janda
                                                Sean R. Janda
